                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


DAVID DELL’AQUILA,                              )
                                                )
       Plaintiff(s),                            )
                                                )
v.                                              )   Case No. 3:19-cv-00679
                                                )   Judge Campbell / Frensley
WAYNE LAPIERRE, et al.,                         )
                                                )
       Defendant(s).                            )
                                                )


                                           ORDER

       An Initial Case Management Conference is scheduled for November 6, 2020 at 9:30 a.m.

via telephone. All parties shall call 1-877-336-1831, and when prompted for the access code,

enter 7039387# to participate in the Case Management Conference. If a party has difficulty

connecting to the call or has been on hold for more than five (5) minutes, please call 615-736-

7344. The parties shall confer on a proposed case management order to be filed three (3)

business    days       before   the   conference.      It   shall   also   be    emailed     to

frensleychambers@tnmd.uscourts.gov in Word format.



               IT IS SO ORDERED.



                                                    JEFFERY S. FRENSLEY
                                                    United States Magistrate Judge




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